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TRULINCS 91241053 - CELLI, LUCIO - Unit: ALM-D-A


FROM:91241053                                                                          j^                       5
TO: Celli, Gino: Mysliwiec, Asron
SUBJECT: 7-20-21 missing transcript
DATE: 06/13/2024 02:25:29 PM

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USA V. Lucio Celli

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Re: Missir^ transcript for 7-20-21 (I took back my guilty plea) with missing motions with said date being audio recorded C.
                         ydvr 0rc/                         I AS /
Dear Judge Engelma^r, Admin Oversight, and Mr'TMysliwiec:
Please inform the court that the transcript for 7-20-21 appears to be missing, as I will be sending this email or youialtach this
and tell m#ybu sent it-whatever works. On this date, I took back my plea, one of the missing motions is taking back^ri^ motion,
and the AUSAs, upper DOJ and congress has this motion with structural error for choice of lawyer.                      f '•

I refused to state "I intended to harm" Judge Brodie and Judge Cogan. Silverman knew that I took back my plea and he is audio
recorded telling me that he placed my motions under seal on a secret^ docket that the "public" did not know about. I informed
Silverman that he was lying because the public has the RIGHT to know about "sealed" documents, as they could petition the
court to "unseal" documents.

Anyway, you are an officer of the court and you are now aware of the fact that I was illegally convicted by Judge Engelmayer
because Silverman lied to him, as I said: "I did not intend to harm..." and there is case law that,in this area.
Structural error and take back guilty were hidded by Silverman....Oh wait, you have committed the same crime and Office
Cudina is a witness, because she did not notifiy anyone either. You have not informed the court that I told you that you were not
my choice of lawyer or that I took back my guilty plea—have you?

Like I wrote before, you have not admitted to anything but you have behaved like everyone else and AUSA Shaw said the
missing motions were a crime.

Please tell me if you fixed this and informed the court

Please inform me if you are going to notify the court of this injustice by Randi Weingarten and Judge Cogan, as Silverman
admitted to conspiring with them-this is also recorded.

Please note, my friend Ida Lucas called EDNY and she said that clerks wondered why the transcript was missing for 7-20-21. I
knew why and Mr. Mysliwiec, you knew why and this is the reason that you lied
G. please save, print this out and have mommy mail this to EDNY in BK. Tell her to send this certified return receipt''       ,     \
East Cadmen Plaza, BK NY          you need the number before East and zip code

FYI: The clerk of EDNY is to inform Chief Judge Livingston of the criminal conduct of Mysliwiec because AUSA Shaw said it
was a crime for Silverman and it is the same crime that Mr. Mysliwiec has cornmitted because he refused to place motion on the
docket
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